         Case 2:19-cr-00601-JTM Document 34 Filed 10/02/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,
            Plaintiff,

      vs.                                             No. CR 19-00601-JTM

ALYSSA LUNA,
           Defendant.


                            MEMORANDUM AND ORDER


      Defendant Alyssa Luna pled guilty to Conspiracy to Transport Illegal Aliens, 8

U.S.C. § 1324(a)(1)(A)(ii) and 8 U.S.C. § 1324(a)(1)(B)(i) on June 27, 2019 and was

ordered to be released from the Bureau of Prisons on July 8, 2019. This Court also

sentenced Ms. Luna to two years of supervised release. The matter is now before the

court on Luna’s motion for early termination of probation.

      The defendant has been on supervised release for over a year and has not had

any violations. She wishes to be able to travel to Gallup, New Mexico to visit her family

more often, and would like to find a better job and place to live but is limited due to

being on probation. The government and the United States Probation Office do not

oppose the request.

      IT IS ORDERED this day of October, 2020, that Defendant’s Motion (Dkt. 33) is

hereby granted.

                                         J. Thomas Marten
                                         J. Thomas Marten, Judge
